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                                                                June 23, 2020

By ECF

The Honorable Gregory H. Woods,
    Daniel Patrick Moynihan United States Courthouse,
       500 Pearl Street,
            New York, New York 10007-1312.

                  Re:        In re JPMorgan Precious Metals Spoofing Litigation,
                             No. 18-cv-10356-GHW (S.D.N.Y.)1

Dear Judge Woods:

                On behalf of Defendant JPMorgan Chase & Co. (“JPMorgan”), I write
pursuant to this Court’s November 19, 2019 and December 3, 2019 orders (ECF Nos. 55
& 57), which extended the current stay of proceedings in the above-captioned consolidated
action until June 30, 2020 and directed the parties to notify the Court no later than June 23,
2020 of their views as to the continuing need for a stay.

               JPMorgan has consulted with the Government and with Plaintiffs. As the
Court is aware, the Government has moved to continue the current stay through the
conclusion of a related criminal prosecution pending in United States v. Smith, et al., Case
No. 19-cr-669 (N.D. Ill.) (ECF No. 60). JPMorgan agrees that a continued stay as proposed
by the Government is appropriate.

                  We are available at the Court’s convenience to discuss this matter.




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    The following related actions have been consolidated under this caption: No. 18-cv-
10628, No. 18-cv-10634, No. 18-cv-10755, No. 18-cv-11115, No. 18-cv-11629, and No.
18-cv-11458.
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 Hon. Gregory H. Woods                                                 -2-


                                             Respectfully Submitted,


                                              /s/ Amanda F. Davidoff
                                              Amanda F. Davidoff

cc: All counsel of record (via ECF)
